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                              UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


  IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
  LIABILITY LITIGATION
                                                    Case No. 16-md-02741-VC


  This document relates to:                         ORDER REGARDING INCORRECTLY
                                                    FILED MOTIONS
  Anderson v. Monsanto Co.,
  Case No. 3:19-cv-08034-VC                         Re: Dkt. Nos. 19075, 19076

  Mank v. Monsanto Co.,
  Case No. 3:19-cv-08035-VC


       Pursuant to Pretrial Order No. 1 of In re Roundup Products Liability Litigation, 16-md-

2741-VC, all documents filed in MDL member cases must be filed on both the master docket

and the docket of the member case.

       The motions filed at the above docket numbers are being terminated. If the documents are

refiled in accordance with Pretrial Order No. 1, the Court will consider the filings.
       IT IS SO ORDERED.

Dated: December 27, 2024
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge
